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AARON J. COHN, JUDGMENT IN A CIVIL CASE
Piaintiff,
v-
NATIONAL FINANCIAL SYSTEMS, INC., CASE No; 04-2502-3

NATIONAL FINANCIAL SYSTEMS, LLC,
ANTHONY STARKS aka JOHN DOE 1; and
aka JOHN NEWMAN aka JOHN DOE 2,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Stipulation Of Disrnissal
With Prejudice entered on June 20, 2005, this cause is hereby dismissed with prejudice.

 

 

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Da e Clerk of Court
(By) §uty Clerk

This document entered on the docket sheet in compliance
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Honorable J. Breen
US DISTRICT COURT

